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UNITED STATES DlSTRlCT COURT E' L § 5
EASTERN DISTRICT OF PENNSYLVANIA j ri
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sECURtTiEs AND EXCHANGE coMMissioN. ep' Cie’*

Plaintiff.

V_ C.A. No. 0 9 _62$5/;

STEVEN R. GARFINKEL AND MICHAEL
O`HANLON

De fendants.

 

 

FINAL JUDGMENT AS TO DEFENDANT STEVEN R. GARF{NKEL
The Securities and Exchange Commission having filed a Complaint and Defendant
Steven R. Gariinkel, having entered a general appearance; consented to the Court's jurisdiction
over Defendant and the subject matter of this action; consented to entry of this Final Judgmcnt
without admitting or denying the allegations of the C`omplaint (except as to jurisdiction); waived
findings of fact and conclusions of law; and waived any right to appeal from this Final

Judgment:

I.

IT lS HEREBY ORDERED, ADJUDGED. AND DECREED that Defendant and
Det`endant`s agents, employees. attorneys, and all persons in active concert or participation with
them who receive actual notice of this Final Judgment by personal service or otherwise are
permanently restrained and enjoined from violating directly or indirectly, Section lO(b) of the
Securities Exchange Act of1934 (the "Exchange Act") [15 U.S.C`. § 78j(b)] and Rule lOb~$

promulgated thereunder [17 (`.F.R. § 240.10b-5], by using any means or instrumentality of

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interstate commerce, or of the mails, or of any facility of any national securities exchange in
connection with the purchase or sale of any security:

(a) to employ any device, scheme, or artifice to defraud;

(b) to make any untrue statement of a material fact or to omit to state a material fact
necessary in order to make the statements made, in the light of the circumstances
under which they were made. not misleading; or

(c) to engage in any act, practice, or course of business which operates or would
operate as a fraud or deceit upon any person

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IT IS HE.REBY FURTHER ORDERED, ADJUDGED. AND DECREED that Defendant
and Defendant's agents. employees attorneys and all persons in active concert or participation
with them who receive actual notice of this Final Judgment by personal service or otherwise are
permanently restrained and enjoined from violating. directly or indirectly, Section l3(b)(5) of the
Exchange Act [15 U.S.C. § 78m(b)(5)] and Rules lJbZ-l and l3b2-2 thereunder [17 C.F.R. §
240.13b2-l and § 240.13b2-2}, by

(a) knowingly circumventing or failing to implement a system of internal accounting

controls or knowingly falsifying any book, record. or account required to be maintained

by the federal securities laws;

(b) directly or indirectly falsifying or causing to be falsified any book, record or

account required to be maintained under the federal securities laws;

(c) making or causing to be made a materially false or misleading statement to an

accountant, in connection with (i) any audit. review or examination of a financial

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statement of an issuer required to be made under the federal securities laws; or (ii) the
preparation or filing of any report or document required to be made or to be filed with the
Commission;
(d) omitting to state. or causing another person to omit to state. any material fact
necessary in order to make statements made in light of the circumstances under which
statements were made, not misleading to an accountant, in connection with (i) any audit.
tevicw, or examination of a financial statement of an issuer required to be made under the
federal securities laws; or (ii) the preparation or filing of any report or document required
to be made or to be filed with the C`ommission; and

(c) directly or indirectly taking any action to coerce1 manipulate, mislead, or

fraudulently influence any independent public or certified public accountant engaged in

the performance of any audit or review of any financial statement of an issuer that is
required to be filed with the Commission or otherwise. if such action could result in
rendering the financial statement material misieading.

III,

IT lS FURTHER ORDERED, ADIUDGED, AND DECREED that Defendant and
Defendant`s agents employees attorneys and all persons in active concert or participation with
them who receive actuai notice of this Final Judgment by personal service or otherwise are
permanently restrained and enjoined from violating. directly or indirectly. Rule 13a-14 [l7
C.F.R. § 240. | 3a-I4} of the Exchange Act by filing false certification of any annual or quarterly

report filed with the Commission.

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IV.

IT IS FURTHER ORDERED, ADJUDGED. AND DECREED that Defendant and
Defendant`s agents1 employees attorneysq and all persons in active concert or participation with
them who receive actual notice of this Final Judgrnent by personal service or otherwise are
permanently restrained and enjoined from aiding and abetting any violation of Sections 13(a)
and 13(b)(2)(A) ofthe Exchange Act [15 U.S.C. §§ `I'Sm(a), 78m(b)(2)(A)] and Rules l2b-20,
l3a-l, and i3a-f3 thereunder [17' C.F.R. §§ 240.12b-20, 240.l3a~l, and 240.]33-13] by
knowingly providing substantial assistance to an issuer that violates the federal securities laws
which require itc to file with the C`ommission accurate periodic reports, to maintain accurate
books and records, and to devise and maintain a sufficient system of internal accounting
controls

V.

lT IS FURTHER ORDERED. ADIUDGED. AND DECREED that. pursuant to Section
ZI(d)(Z) of the Exchange Act [15 U.S.C. § 78u(d)(2)]. Defendant is permanently prohibited from
acting as an officer or director of any issuer that has a class of` securities registered pursuant to
ection 12 ofthe Exchange Act [15 U.S.C`. § 781} or that is required to file reports pursuant to

Section lS(d) ofthe Exchange Act [15 U.S.C`. § 780(dll.

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Vl.

[T lS FURTHER ORDERED, ADJUDGED. AND DECREED that the Consent is
incorporated herein with the same force and effect as if fully set forth herein, and that Def`endant
shall comply with all of the undertakings and agreements set forth therein

Vll.

IT lS FURTHER ORDERED, ADJUDGED. AND DECREED that this C`ourt shall retain

jurisdiction of this matter for the purposes of enforcing the terms of this Final .ludgment.
Vlll.
There being nojust reason for delay, pursuant to Ru|e 54(_b} of` the Federal Rules of C`ivil

Procedure` the Clerk is ordered to enter this Final .ludgrnent forthwith and without further notice

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UNITED ser”l‘Es oisralc"f JUDGEY

 

